EXHIBIT L
   Chairman
Shelley Oberlander                       Loudoun County, Virginia
Vice-Chairman
  Kaysi Sanden                           Office of Elections and Voter Registration – Electoral Board
   Secretary                             750 Miller Drive SE, Suite 150, Leesburg, VA 20175
   Ellen Heald                           703/777-0380 V/TDD ~ FAX 703/777-0622


                                                        Electoral Board
                                                       Meeting Agenda
                                              Office of Elections Training Room
                                               Thursday, September 12, 2024
                                                           1:00 P.M.

       I.            Call to Order –Chair Oberlander
       II.           Approval of Meeting Agenda
                     a. Requests for Additions/Deletions
       III.          Approval of Previous Meeting Minutes
       IV.           Public Comment
       V.            Director’s Report
                     a. Non-U.S. Citizen Voting Update
                     b. Signage Update per Executive Order #35
                     c. ADA Compliance Update
                     d. Ballot Order Update
       VI.           Deputy Director’s Report
                     a. L&A Testing Update
                     b. Emergency Preparedness Update
                     c. Election Officer Training Update
       VII.          Information Items
                     a. List Maintenance Update
                     b. November Risk-Limiting Audit Update
       VIII.         Action Items
                     a. Election Officer Appointments
                     b. Authority to Assign Non-Partisan Election Officers
       IX.           Board Comments & Disclosures
       X.            Schedule Next Meeting – (October 10, 2024 – 1:00 p.m.)
       XI.           Closed Session
                     a. Security Matters
                     b. Emergency Preparedness
       XII.          Adjourn
   Chairman
                                         Loudoun County, Virginia
Vice-Chairman
Shelley Oberlander                       Office of Elections and Voter Registration – Electoral Board
   Secretary                             750 Miller Drive SE, Suite 150, Leesburg, VA 20175
   Ellen Heald                           703/777-0380 V/TDD ~ FAX 703/777-0622




                                                        Electoral Board
                                                       Meeting Agenda
                                              Office of Elections Training Room
                                                  Thursday, August 15, 2024
                                                           1:00 P.M.

       I.            Call to Order – Vice-Chair Oberlander
                     a. Vice-Chair Oberlander called the meeting to order at 1:07 p.m. on August 15, 2024.
       II.           Organization of Electoral Board
                     a. Motion: Vice-Chair Oberlander appoints herself Chair and Kaysei Sanden Vice-Chair.
                        The motion was approved 2-0-0.
       III.          Approval of Meeting Agenda
                     a. Motion: Chair Oberlander moved to move public comment after action items. The motion
                        was approved 2-0-0.
                     b. Chair Oberlander moved to make edits on the agenda of meeting. The motion was
                        approved 2-0-0.
       IV.           Approval of Previous Meeting Minutes
                     a. Motion: Chairman Oberlander moved to approve the meeting minutes of the July 11,
                        2024 meeting with edits. The motion was approved 2-0-0.
       V.            Staff Reports
                     a. Director Judy Brown
                     b. Deputy Director Richard Keech
       VI.           Information Items
                     a. List Maintenance Update
                            i. Chair Oberlander motioned to turn over non-citizens with voter history for
                                investigation
                            ii. Vice-Chair Sanden moves to table motion for adequate time to research
                                process/gather information
                           iii. Chair Oberlander motioned to turn over non-citizens with voter history for
                                investigation
   Chairman
                                        Loudoun County, Virginia
Vice-Chairman
Shelley Oberlander                      Office of Elections and Voter Registration – Electoral Board
   Secretary                            750 Miller Drive SE, Suite 150, Leesburg, VA 20175
   Ellen Heald                          703/777-0380 V/TDD ~ FAX 703/777-0622


                                    1. Chair Oberlander requested a full report from Registrar for next meeting
                                        on non-citizens on the voter rolls with voting history.
                     b. November General Election Update
       VII.          Action Items
                     a. November Risk-Limiting Audit
                            i. Chair Oberlander motions the Loudoun County Electoral Board authorize Chair,
                               Shelley Oberlander, to send communication to the State Board of Elections and
                               the Commissioner of Elections, Susan Beals on behalf of the Electoral Board,
                               requesting they consider using the Batch-Comparison Method for the 2024
                               Statewide risk limiting audit and for the audit to be conducted using the
                               November 5, 2024 Presidential race. The motion was approved 3-0-0.
                     b. Early Voting Schedule for November General Election
                            i. Chair Oberlander motioned that the Electoral Board of Loudoun County approve
                               the early voting schedule for the November 2024 General Election as presented in
                               this item. The motion was approved 2-1-0. Chair Oberlander and Vice-Chair
                               Sanden- Aye, Secretary Heald- Nay.
                     c. November Election Ballot Order
                            i. Chair Oberlander motioned that the Electoral Board of Loudoun County approve
                               the ordering of ballots equal to a turnout of approximately 80% for the
                               Presidential Election to be held on November 5, 2024. The motion was approved
                               3-0-0.
                     d. Election Officer Appointments
                            i. Chair Oberlander motioned that the Loudoun County Electoral Board appoint the
                               236 Election Officer applicants on the list provided as Election Officers to a term
                               to expire on February 28, 2025. The motion was approved 3-0-0.
                     e. ADA Compliance Confirmation
                            i. Chair Oberlander motioned move the Loudoun County Electoral Board approve
                               the Annual ADA Compliance Confirmation form. The motion was approved 3-0-
                               0.
   Chairman
                                       Loudoun County, Virginia
Vice-Chairman
Shelley Oberlander                     Office of Elections and Voter Registration – Electoral Board
   Secretary                           750 Miller Drive SE, Suite 150, Leesburg, VA 20175
   Ellen Heald                         703/777-0380 V/TDD ~ FAX 703/777-0622


                            ii. Chair Oberlander motioned move the Loudoun County Electoral Board Secretary
                               sign the Annual ADA Compliance Confirmation form and provide it to the
                               General Registrar for submission no later than Thursday, August 29, 2024. The
                               motion was approved 3-0-0.
                           iii. Chair Oberlander requested that the Office of Elections adds information about
                               service dogs in Election Officer Training.
                     f. Non-U.S. Citizen Voting
                            i. Vice-Chair Sanden motioned to table this discussion until more information was
                               received from the state. The motion was approved 3-0-0.
                            ii. Chair Oberlander motioned to retroactively evaluate the voter roll. Vice-Chair
                               Sanden motioned to table discussion until more information. Chair Oberlander
                               amend the motion to table discussion and to send a letter to Commissioner Beals.
                               The motion was approved 3-0-0.
       VIII.         Public Comments
                     a. Herschel Kanter-Election Calendar
                     b. Patti Maslinoff- Early Voting
                     c. Beverly Ricci – Early Voting
                     d. Thomas Price– Early Voting
                     e. Alicia Slook – Transparency
                     f. Lara Larson – Early Voting
                     g. Amy Richards- Election Officer Appointments
                     h. Brenda Bengtson– Early Voting
                     i. Marcy Hemminger- Non- Citizen Voting
                     j. Jim Buttolph- Non- Citizen Voting
                     k. Richard Ryan- Contingency Plans
                     l. Thomas Kasperek - List Maintenance
                     m. Buta Biberaj – Early Voting
                     n. Donna Stowe-– Early Voting
                     o. John Logalbo-– Early Voting
                     p. Gail Pean- Election Calendar
   Chairman
                                       Loudoun County, Virginia
Vice-Chairman
Shelley Oberlander                     Office of Elections and Voter Registration – Electoral Board
   Secretary                           750 Miller Drive SE, Suite 150, Leesburg, VA 20175
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                     q. Jo-Ann Chase- Non- Citizen Voting
       IX.           Board Comments & Disclosures
                     a. Chairman Oberlander praises the team at the Office of Elections.
                     b. Secretary Heald welcomes Vice-Chair Sanden to the board.
       X.            Schedule Next Meeting
                     a. Chairman Oberlander moved that the next monthly meeting of the Loudoun County
                        Electoral Board be September 12th, 2024, at 1:00 p.m.
       XI.           Adjourn
                     a. The meeting was adjourned at 2:33 p.m.
                                                                 Date of Meeting: September 12, 2024


                                                                                                   I-a
                                       ELECTORAL BOARD
                                      COUNTY OF LOUDOUN
                                       INFORMATION ITEM

SUBJECT:       List Maintenance

PURPOSE:       Update on list maintenance

STAFF:         Judith Brown, Director of Elections


BACKGROUND: Va. Code 24.2 requires certain list maintenance activities occur on a regular
ongoing basis including the following:

       Confirmation Mailings (Annually – July)
       Felon Records (Monthly)
       Mentally Incapacitated Adjudications (Monthly)
       Non-Citizen Records (Monthly) Note: Records Populating Daily
       Death Records - (Weekly as of July 1, 2022)
       DMV License Surrender – (Monthly as of October 2023)

In accordance with Va. Code, information for list maintenance activities is provided to the Virginia
Department of Elections (ELECT) and that data is then transmitted to local registrars to be processed,
including removal of names from the voter rolls for those who are deemed to be a match with the data
being provided and the data on the voter rolls. The attached chart provides a breakdown of the number
of individuals removed from the voter rolls during the month of August 2024.

DMV noncitizen data is transmitted to ELECT in accordance with Va. Code §24.2-410.1 and §24.2-
427(c). This information is sent by ELECT to general registrars in VERIS hoppers. The general
registrar reviews those records. The following notice is sent to the registered voter.

                                  NOTICE OF INTENT TO CANCEL

We have received information that you indicated on a recent DMV application that you are not a
citizen of the United States. If the information provided was correct, you are not eligible to register
to vote. If the information is incorrect and you are a citizen of the United States, please complete the
Affirmation of Citizenship form and return it using the enclosed envelope. If you do not respond within
14 days, you will be removed from the list of registered voters.

If you believe this notice has been issued in error or have any questions about this notification, please
call the Office of General Registrar.
                                                                                    I-a – List Maintenance
                                                                                  Electoral Board Meeting
                                                                                       September 12, 2024
                                                                                                    Page 2


If the voter provides the affirmation of citizenship form, the voter remains registered. If the voter
does not affirm citizenship, their registration is cancelled, and a notice of cancellation is sent.



ISSUES: Under NVRA, we are not permitted to remove someone simply because mail is returned as
undeliverable. We will mark them for “confirmation notice”. They will be sent a notice and if they
don’t respond, they will be changed to inactive. This is an automated process in the voter registration
system. The voter will remain on the voter rolls as inactive for two federal elections before being
removed. If, however, they appear to vote their record will become active. A voter who is inactive or
marked for confirmation must complete the Affirmation of Eligibility form before being permitted to
vote. By completing and signing the Affirmation of Eligibility form, the individual is stating they do
still reside at the address on file.
                                                                                                                                                                         Yearly
                          Dec-23   Jan-24       Feb-24       Mar-24      Apr-24      May-24     Jun-24     Jul-24       Aug-24      Sep-24   Oct-24   Nov-24   Dec-24     Total
Cancellations                                                                                                                                                           Cancelled

Deceased                   158        148          100          153         122         112        171        109          163                                            1078
Felony                      2               5          17        10             8         11           2       18           14                                             85
Non-Citizen                 8             13             9           7       11             7          4            3           8                                          62
Mentally Incapacitated      0               0            1           0          4           0          2            2           1                                          10
Out of State/Other          70        112              87        87          70         306        240        960          368                                            2230
Inactive Purge                                                                                                                                                             0
Total Records
Cancelled Monthly           238        278          214          257         215         436        419       1092                                                        2911

                                                                                    Registered Voters

Active Registered
Voters                    274,385 275,275 275,828 277,697 278,627 279,331 278,974 273,558 276,356
Inactive Registered
Voters                    21,563   21,375       21,284       21,007      20,864       20,708    20,607     27,081       26,300
Total Registered
Voters                    295,948 296,650 297,112 298,704 299,491 300,039 299,581 300,639 302,656
Net Increase/Decrease
Total Registered Voters
                           971      702          462         1,592        787         548       -458       1,058        2,017                                             6708



New Voters                 919      959          542         1,691        971         885        344       1,988        2,137                                             9517
                                                         Date of Meeting: September 12, 2024


                                                                                          I-b
                                   ELECTORAL BOARD
                                  COUNTY OF LOUDOUN
                                   INFORMATION ITEM

SUBJECT:      November Risk-Limiting Audit

PURPOSE:      Update on November Risk-Limiting Audit

STAFF:        Shelley Oberlander, Chair


BACKGROUND: The Loudoun County Electoral Board voted to request the State Board of
Elections consider the use of the Batch Comparison Method Audit and to consider an audit of the
United States Senate race following the November 2024 election.

The State Board of Elections met on Tuesday, September 3, 2024 to determine the type of audit to
be used when auditing the statutorily required United States House of Representatives race
following the November election and to decide if they want to conduct a state-wide audit of the
United States Senate race and if so, the audit method to used.

The State Board of Elections voted to use the Batch Comparison Method for the audit of the United
States House of Representatives. All 11 congressional districts are eligible this year for audit,
provided that the margin of the contest does not fall below 1%. One contest will be chosen at
random during the November 18 State Board of Elections meeting.

The State Board of Elections voted to conduct a statewide audit of the United States Senate race
using the Ballot Polling Method. The last statewide RLA was conducted in 2021 of the U.S. Senate
and Presidential contests.
[Insert Item Number and Title of Item]
             [Insert Name of Meeting]
                  [Month XX, XXXX]
                               Page 2
                                                           Date of Meeting: September 12, 2024


                                                                                          A-a
                                    ELECTORAL BOARD
                                   COUNTY OF LOUDOUN
                                      ACTION ITEM

SUBJECT:       Appointment of Election Officers

CRITICAL ACTION DATE: None

PURPOSE: Seek Electoral Board Approval of Additional Election Officers

STAFF:         Judith Brown, Director of Elections



BACKGROUND: Each month staff presents names of citizens that have applied to become
election officers for Loudoun County. Those wishing to represent a party are sent to the respective
party for approval. By approving election officers now, they will have an opportunity to sign up
for a training session that better fits their schedule

The October Electoral Board meeting will be the last opportunity for approving election officers
to serve in the November 2024 election.

All election officers currently in our database will continue to serve until their term expires on
February 28, 2025. In January 2025 both parties will submit the names of election officers they
wish to have appointed or reappointed to a new term by the Electoral Board.


ISSUES: None.

DRAFT MOTIONS:

   1. I move that the Loudoun County Electoral Board appoint the XXX Election Officer
      applicants on the list provided as Election Officers to a term to expire on February 28,
      2025.

       OR

   2. I move an alternate motion.

ATTACHMENTS:

   1. List of Election Officer applicants
        First Name           Last Name   Home Precinct         Party
 1 Matthew           Adjei                     119       D - Democratic
 2 Anaum             Ahmad                     822       D - Democratic
 3 Adnan             Al Ghazzouli              120       D - Democratic
 4 Elizabeth         Alfsen                    710       D - Democratic
 5 Ranveer           Ambati                    313       D - Democratic
 6 Tyler             Andress                   505       D - Democratic
 7 Tine              Beam                      501       D - Democratic
 8 Anne              Bowen                     210       D - Democratic
 9 Jill              Bran                      319       D - Democratic
10 Joanne            Brooks                Fairfax Co.   D - Democratic
11 Brandon           Brown                     823       D - Democratic
12 Aaron             Brown                     823       D - Democratic
13 Laura             Brumsey                   701       D - Democratic
14 William           Carter                    221       D - Democratic
15 Victoria          Chevalier                 630       D - Democratic
16 Sherry            Cupac                     621       D - Democratic
17 Elizabeth         Dears                     512       D - Democratic
18 Wilton            Dickerson                 501       D - Democratic
19 Mariam            Ebrahimi                  512       D - Democratic
20 John              Eubanks                   220       D - Democratic
21 Christine         Favreaux                  820       D - Democratic
22 Rose              Fernandez Eubanks         220       D - Democratic
23 Jan               Fruiterman                512       D - Democratic
24 Edwin             Gallahan                  504       D - Democratic
25 Kayla             Giuliani                  309       D - Democratic
26 Gregory           Goin                      321       D - Democratic
27 Chloe             Goldbach                  209       D - Democratic
28 David             Goldberg                  210       D - Democratic
29 Sarah             Goodwin                   622       D - Democratic
30 Karen             Grant                     121       D - Democratic
31 Jessica           Haas                      207       D - Democratic
32 Allen             Hamblin                   427       D - Democratic
33 Michael           Hardey                    425       D - Democratic
34 Roynda            Hartsfield-Nack           214       D - Democratic
35 Gerald            Harvey Jr                 512       D - Democratic
36 Stephen           Heinz                     326       D - Democratic
37 Erin              Henning                   321       D - Democratic
38 Shirley           Heying                    219       D - Democratic
39 Mary              Homer                     622       D - Democratic
40 Shani             Hosten                    217       D - Democratic
41 Cuong             Huynh                     220       D - Democratic
42 Nancy             Iarossi                   402       D - Democratic
43 Frank             Iarossi                   402       D - Democratic
44 Alice           Jacobson     328   D - Democratic
45 Danielle        Johnson      126   D - Democratic
46 Tammy           Jones        112   D - Democratic
47 Julia           Kasdorf      402   D - Democratic
48 Sandra          Kereluk      215   D - Democratic
49 Lauren          Lang         402   D - Democratic
50 Brian           Lewis        714   D - Democratic
51 Kaitlin         Lozinski     411   D - Democratic
52 Ita             Mandel       702   D - Democratic
53 Gloria          Martin       622   D - Democratic
54 Sandra          McBride      416   D - Democratic
55 Janet           Mccormick    815   D - Democratic
56 Camilla         MGhee        325   D - Democratic
57 Mbonisi         Mzamo        713   D - Democratic
58 Terrica         Neal-Smith   326   D - Democratic
59 Wendi           Owens        208   D - Democratic
60 Jonathan        Owens        208   D - Democratic
61 Rutherford      Poats        426   D - Democratic
62 Bobbie          Price II     701   D - Democratic
63 Mia             Puccio       819   D - Democratic
64 Tony            Radfar       808   D - Democratic
65 Bishara         Rahman       409   D - Democratic
66 Paola (Noemi)   Reyes Cruz   215   D - Democratic
67 Vanessa         Richardson   627   D - Democratic
68 Gail            Robinson     210   D - Democratic
69 Robert          Roncace      621   D - Democratic
70 Elizabeth       Ross         319   D - Democratic
71 Andrew          Ross         119   D - Democratic
72 Ann             Rutland      508   D - Democratic
73 Venkateswara    Sattiraju    107   D - Democratic
74 Janice          Saylor       627   D - Democratic
75 Robin           Shear        325   D - Democratic
76 Liane           Simpson      615   D - Democratic
77 Prisha          Singh        124   D - Democratic
78 Susan           Spence       209   D - Democratic
79 Susan           Spruill      216   D - Democratic
80 Usha            Srivatsan    814   D - Democratic
81 William         Stalcup      817   D - Democratic
82 Kim             Stinger      402   D - Democratic
83 Kerry           Sullivan     815   D - Democratic
84 James           Taylor       107   D - Democratic
85 Kanan           Thaker       621   D - Democratic
86 Kimberly        Thomas       218   D - Democratic
87 Henry           Tolbert      702   D - Democratic
88 Christopher        Tully                     216         D - Democratic
89 Susan              Tully                     216         D - Democratic
90 Cynthia            Vough                     325         D - Democratic
91 Courtney           Wayland                   416         D - Democratic
92 Elizabeth          White                     307         D - Democratic
93 Hubert             Wyllie                    823         D - Democratic
         First Name             Last Name   Home Precinct          Party
 1 Christine          Adkins                    428         R - Republican
 2 Tallal             Afzal                     108         R - Republican
 3 Catherine          Alifrangis                822         R - Republican
 4 Matthew            Archer                    411         R - Republican
 5 James              Arter                     416         R - Republican
 6 Emmeline           Arthur                    416         R - Republican
 7 Laila              Bober                     623         R - Republican
 8 Stephen            Bozzo                     510         R - Republican
 9 Joseph             Bradford                  504         R - Republican
10 Todd               Brazas                    402         R - Republican
11 Dennis             Brouwer                   426         R - Republican
12 Melissa            Brown                     326         R - Republican
13 Kristina           Bullock                   511         R - Republican
14 Laurie             Bush                      216         R - Republican
15 Shamonique         Chacon                    314         R - Republican
16 Sharon             Christenson               512         R - Republican
17 Becky              Christian                 314         R - Republican
18 Mital              Christian                 511         R - Republican
19 Cliff              Clary                     710         R - Republican
20 Elizabeth          Courts                    308         R - Republican
21 Sheila             Cowling                   413         R - Republican
22 Julie              Curry                     815         R - Republican
23 Ethan              Dahlby                    328         R - Republican
24 Ngoc               Dang                      314         R - Republican
25 Torre              Daniell                   409         R - Republican
26 Ralph              Davis                     209         R - Republican
27 Ross               Deem                      413         R - Republican
28 Tauna              Delmonico                 409         R - Republican
29 Patricia           DeSouza                   623         R - Republican
30 Christopher        Dieken                    427         R - Republican
31 David              Doby                      511         R - Republican
32 Stephanie          Downer                    120         R - Republican
33 William            Downer Jr                 120         R - Republican
34 Robert             Drosdzal                  815         R - Republican
35 John               Dubia                     512         R - Republican
36 Edward             Ellis                     810         R - Republican
37 Diane              Fairgrieve                409         R - Republican
38 Charles          Faust             430       R - Republican
39 James            Fishenden         627       R - Republican
40 Victor           Flores            509       R - Republican
41 Jennifer         Fox               409       R - Republican
42 Tony             Gallardo          820       R - Republican
43 Nestor           Gotay Umana       512       R - Republican
44 Steven           Hall              401       R - Republican
45 Donna            Hartford          504       R - Republican
46 Elliot           Hartford JR       504       R - Republican
47 Edward           Hauschild         403       R - Republican
48 Donna            Hoffman           504       R - Republican
49 Charlotte        Holland           817       R - Republican
50 James            Huber             503       R - Republican
51 Kimberly         Hurst             308       R - Republican
52 Deborah          James             424       R - Republican
53 Mark             Johnston          503       R - Republican
54 Douglas          Jones             409       R - Republican
55 Solomon          Kanamala          119       R - Republican
56 Jerome           Kasper            626       R - Republican
57 Mark             Kastilahn         621       R - Republican
58 Weelfried        Kawaya            126       R - Republican
59 Andrew           Keeter            820       R - Republican
60 John             Keppeler          326       R - Republican
61 Amira            Khater            319       R - Republican
62 Timothy          Lasher            401       R - Republican
63 Gail             Lataille          427       R - Republican
64 Equilla          Lavine            312       R - Republican
65 William (Bill)   Leake             501       R - Republican
66 Daniel           Letson            505       R - Republican
67 Grace            Liang             126       R - Republican
68 Stephen          Limbert           326       R - Republican
69 Barbara          Lowe              512       R - Republican
70 Shinta           Mariana       Fairfax Co.   R - Republican
71 Andrea           Masters           511       R - Republican
72 Danny (Dan)      Matzker           416       R - Republican
73 Alfred           Mbia              508       R - Republican
74 Robert           McCurdy           503       R - Republican
75 Kelly            McKnight          510       R - Republican
76 George           Merrell           817       R - Republican
77 Tracy            Miller            401       R - Republican
78 Ryan             Mooney            616       R - Republican
79 Richard          Moore             620       R - Republican
80 Mavis            Morris            815       R - Republican
81 Marianne         Mount             403       R - Republican
 82 Kevin             Mulhern                   428         R - Republican
 83 Donna             Mullen                    401         R - Republican
 84 Adam              Newland                   509         R - Republican
 85 Johan             Perez Medina              712         R - Republican
 86 Susanh            Perez-Molina              712         R - Republican
 87 Elizabeth         Rasiak                    504         R - Republican
 88 Colleen           Regotti                   120         R - Republican
 89 Nona              Reynolds                  411         R - Republican
 90 Kevin             Reynolds                  411         R - Republican
 91 Elia              Ryan                      705         R - Republican
 92 Hannah            Serruya                   814         R - Republican
 93 Julie             Shaheen                   814         R - Republican
 94 Daniel            Shain                     424         R - Republican
 95 Cynthia           Smith                     507         R - Republican
 96 Dina              Smithson                  423         R - Republican
 97 Richard           Stibi                     221         R - Republican
 98 Carolyn           Strain                    326         R - Republican
 99 Connie            Street-Jager              403         R - Republican
100 Blake             Stroud                    503         R - Republican
101 Nicole            Stverak                   814         R - Republican
102 David             Suddoth                   312         R - Republican
103 Afshan            Talib                     808         R - Republican
104 Barbara           Tatum                     815         R - Republican
105 Olga              Terekhina                 628         R - Republican
106 LoriAnn           Waters                    216         R - Republican
107 Jeffrey           Weaver                    616         R - Republican
108 Joan              West                      504         R - Republican
109 Joan              Wilson                    508         R - Republican
110 Robert            Wright                    505         R - Republican
111 Barbara           Yudd                      402         R - Republican
         First Name             Last Name   Home Precinct          Party
  1 Ravi              Achar                     505         N - Non-Partisan
  2 Adnan             Al Ghazzouli              120         N - Non-Partisan
  3 James             Arter                     416         N - Non-Partisan
  4 Jeffery           Barrows                   621         N - Non-Partisan
  5 Stephanie         Bidinger                  501         N - Non-Partisan
  6 David             Bills                     502         N - Non-Partisan
  7 Elizabeth         Carroll                   430         N - Non-Partisan
  8 Carey             Cypher                    509         N - Non-Partisan
  9 Holly             Dhankhar                  622         N - Non-Partisan
 10 Robert            Di Trolio                 217         N - Non-Partisan
 11 Michele           Donovan                   815         N - Non-Partisan
 12 William           Forys                     416         N - Non-Partisan
 13 Star              Francis                   324         N - Non-Partisan
14 Heather       Fruzzetti      314   N - Non-Partisan
15 Jennifer      Gustavus       823   N - Non-Partisan
16 Reynold       Guzman         716   N - Non-Partisan
17 Allen         Hamblin        427   N - Non-Partisan
18 Mary          Henderson      502   N - Non-Partisan
19 Bennet        Humpton        217   N - Non-Partisan
20 Catalina      Johnson        319   N - Non-Partisan
21 Brian         Jordan         313   N - Non-Partisan
22 Laura         Kibble         409   N - Non-Partisan
23 Joan          Lamarre        505   N - Non-Partisan
24 Claudia       Lewis          615   N - Non-Partisan
25 Varinder      Mago           505   N - Non-Partisan
26 Joshua        McCullough     423   N - Non-Partisan
27 Joshua        Meek           628   N - Non-Partisan
28 Jamie         Munizza        813   N - Non-Partisan
29 Jorge         Neyra Vigo     710   N - Non-Partisan
30 Jaja          O'Neil SR      112   N - Non-Partisan
31 Robert        Ohneiser       402   N - Non-Partisan
32 Jae           Park           107   N - Non-Partisan
33 Valerie       Rivera-Sorto   627   N - Non-Partisan
34 Jeffrey       Seggi          329   N - Non-Partisan
35 Christopher   Stanley        817   N - Non-Partisan
36 Suzette       Stone Busa     509   N - Non-Partisan
37 Konah         Terry          508   N - Non-Partisan
38 Mirela        Tsai           319   N - Non-Partisan
39 Amanda        Warrington     427   N - Non-Partisan
40 Frederick     Webb           702   N - Non-Partisan
                                                            Date of Meeting: September 12, 2024


                                                                                           A-b
                                    ELECTORAL BOARD
                                   COUNTY OF LOUDOUN
                                      ACTION ITEM

SUBJECT: Authorization to Assign Non-Partisan Election Officers

CRITICAL ACTION DATE: September 12, 2024

PURPOSE: Seek approval from the board to place non-partisan election officers in accordance
with the Election Officer Assignment Plan

STAFF: Margie Grimes, Election Coordinator

RECOMMENDATIONS: Staff: Authorize the Election Coordinator to begin assigning non-
partisan election officers when partisan election officers are not available.


BACKGROUND: The Electoral Board approved an Election Officer Assignment Plan that
indicates no later than 50 days prior to the election the Election Coordinator shall seek approval to
begin assigning non-partisan election officers when partisan election officers are not available.
Va. Code §24.2-115 allows no more than one-third of the total number of officers appointed for
each precinct to be citizens who do not represent any political party if practicable.

ISSUES: Delay in communicating with non-partisan election officers does not afford them an
opportunity to sign up for training classes that best fit their schedule. It is imperative for us to
have additional election officers to fill vacancies that may occur as we approach the election when
election officers begin to call out, fail to take the required training, or simply do not show up on
Election Day. Some non-partisan election officers are Help Desk or Technology certified and are
needed to ensure we have certified election officers in each precinct to ensure uniform procedures
are being followed across the Commonwealth.

DRAFT MOTIONS:

1. I move that the Electoral Board authorize the Election Coordinator to begin assigning any non-
   partisan election officers in accordance with Va. Code §24.2-115 when partisan election
   officers are not available and/or a Help Desk or Technology certified election officer is needed,
   if they hold such certification.

OR

2. I move and alternate motion.
